          I Case 2:11-cr-00015-LDG-PAL Document 118 Filed 06/29/11 Page 1 of 3
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     6                               U N IT ED STA TES D IST RIC T CO U R T
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     7                                         D IST RICT O F N EVA D A

     8 UNITED STATESOFAMERICA,                             )                                                          j
     ç)                        I>lftilltifll               )
                                                           )                                                          l
    10            v.                                       )           2:1I-CR-OI5-LDG (PAL)                          I
                                                           )                                                          I
    11 TIMOTHY HouGil,                                     )                                                          i
                                                           )                                                          '
    l2                         Defendant.                  )
    13                           PR ELIM INA RY O RD ER O F FO RFEIT UR E

    14           ThisCourttindsthatonJune29,2011,defendantTIM OTHY HOUGH pled guilty to Count
    15 0 ne ofan Eighteen-colm tCrim inalIndictm entcharging him w ith Conspiracy to Distribute Less

    16 Than50KilogramsofM arijuana,inviolation ofTitlc21,United StatesCode,Sections84l(a)(1)
    17 and 846.

    l8           n isCourttindsdefendantTIM OTHY HOUGH agreed to the forfeitm e ofthe property set
    19 forth in Forfeiture Allegationsofthe Crim inalIndictmentand in the Plea M em orandum .//42.

    20            ThisCourtfinds,pttrsuantto Fed.R.Crim.P,32.2(b)(1)and (2),the United Statesof
    2 1 A m erica hasshow n the requisite nexus between property setforth in the Forfeittlre A llegations of
    22 theCrim inalIndictmentandthePleaM em orandum andtheoffensetowhichdefendantTIM OTHY
    23 H OU G H pled guilty.

    24            Thefollowing assetsare subjectto forfeiture pursuantto Title 21,United States Code,
    25 Sections853(a)(1)and(a)(2):
    26     ..,
        Case 2:11-cr-00015-LDG-PAL        Document 118      Filed 06/29/11    Page 2 of 3



 l                $2,015.00inU.S.Currency;
 2                $1,807.00 in U,S.Currency;
 3                $48,920.00 in U .S.Currency;
 4         d.     aRuger.38 cal.revolver,bearing serialnumber540-48039;
 5                aTaurusPT709,9mm sem i-automatichandgun,bemingserialnumberT17082373;

 6                and

 7         f.     arlyanda11ammtmition(t<propertf).
 8         ThisCourtfindsthe United StatesofAmerica isnow entitled to,and should,reduce the
 9 aforementioned propertyto the possession ofthe United StatesofAm erica.
10         N O W THEREFO RE,IT IS H EREBY O RDERED ,A DJU D GED ,AN D D ECR EED tM tIX
11 United StatesofAm ericashould seizetheaforementioned property.
12         IT ISFURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,andinterestof

13 TIM OTHY HOUGH in theaforem entioned property isforfeited and isvested in theUnited States
14 ofAmericaand shallbesafelyheld bytheUnited StatesofAmericauntilfurtherorderoftheCourt.

15         IT ISFURTHER ORDERED,ADJUDGED,AND DECREED theUnitedStatesofAmerica

16 shallpublishforatleastthirty(30)consecutivedaysontheoftkialintemetgovernmentforfeiture
17 website,www.forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeited property,state

18 thetim etmdertheapplicablestatutewhenapetitioncontestingtheforfeituremustbetiled,andstate
19 the nam e and contact inform ation forthe governmentattorney to be served with the petition,

20 pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
21         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED apetitionsifany,mustbe
22 filed with the Clerk ofthe Court,333 LasVegasBoulevard South,LasVegas,Nevada 89101.
23         IT IS FURTHER ORDERED,ADJUDGED ,AND DECREED acopyofthepetition,ifany,
24 shallbe sem ed upon the AssetForfeiture Attorney ofthe United StatesAttom ey's Oftice atthe

25 following addressatthetim eoffiling:
26                                               2
         Case 2:11-cr-00015-LDG-PAL         Document 118        Filed 06/29/11   Page 3 of 3



1                  M ichaelA .Humphreys
                   AssistantUnited StatesAttolmey
                   D anielD .H ollingsw orth
                   A ssistantUnhed States Attorney
3                  NevadaStateBarNo.1925
                   Lloyd D .G eorge U nited States Courthouse
                   333 LasVegasBoulevard South,Suite5000
                   Las Vegas,N evada 89101
            IT IS FU RTH ER O RD ERED ,AD JU DG ED ,A N D D ECR EED the notice described herein

     need notbe published in theeventa Declaration ofForfeiture isissued by the appropriate agency
     followingpublication ofnoticeofseizureand intentto adm inistrativelyforfeittheabove-described

     propelly.
            DATED thisJ.f#t dayof               p-          ,zo11    .



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